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                        IN THE UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF COLORADO

Civil Action No. 23-cv-02620-NYW-MEH

ZEPHERINE MILLER,

       Plaintiff,

v.

NATIONAL CREDIT SYSTEM, INC.,

      Defendant.
______________________________________________________________________________

                                  MINUTE ORDER
______________________________________________________________________________
Entered by Michael E. Hegarty, Chief United States Magistrate Judge, on October 30, 2024.

       At Defendant’s request, the Court will hold a Discovery Conference on November 12,
2024, at 2:00 p.m. in Courtroom A-501, on the fifth floor of the Alfred A. Arraj United States
Courthouse located at 901 19th Street, Denver, Colorado. At this Discovery Conference, the Court
will address the Parties’ dispute over alleged deficiencies in Plaintiff’s document production.
       While in-person appearances are preferred, litigants and counsel whose offices are located
outside of the Denver metropolitan area or who cannot reasonably make a personal appearance
may request to appear at the Discovery Conference remotely. Please email Chambers at
hegarty_chambers@cod.uscourts.gov at least two business days prior to the Discovery
Conference to request to appear by video.

        In advance of the Discovery Conference, the Parties may each prepare a short statement
identifying the nature of the dispute(s) and provide the statements and any other
documents/information that may assist in the resolution of the issues by email, copying all
Parties, to Chief Magistrate Judge Hegarty at hegarty_chambers@cod.uscourts.gov. Submissions
totaling more than thirty (30) pages must be submitted to Chambers in hard copy via regular mail
or hand delivery by that same deadline. These materials shall be submitted on or before November
6, 2024.
